                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                     CRIMINAL DOCKET NO. 5:10cr32-6-RLV


UNITED STATES OF AMERICA                  )
                                          )
                                          )             AMENDED
              vs.                         )             ORDER
                                          )
JESUS ALBERTO LUCIO                       )
                                          )


       THIS MATTER is before the Court upon Defendant’s Unopposed Motion To

Continue Trial Date from the November 1, 2010, criminal term in the Statesville Division.

       For the reasons stated in Defendant’s motion and upon a showing that defense

counsel has not had sufficient time within which to adequately prepare in this case, taking

into account the exercise of due diligence, the Court will allow the continuance. 18 U.S.C.

§ 3161(h)(8)(B)(iv). The Court further finds that the ends of justice served by taking such

action as requested by the Defendant outweigh the best interest of the public and the

Defendant to a speedy trial and that the Government does not oppose this Motion.

       IT IS, THEREFORE, ORDERED that the Defendant's motion for a continuance is

GRANTED and this case is hereby continued from the November 2010, criminal term in

the Statesville Division to the January 10, 2011, criminal term in the Statesville Division.




                                              Signed: October 6, 2010



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